          Case 2:10-cv-02763-JAM-AC Document 19 Filed 12/17/10 Page 1 of 7


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     United States of America
6
7
8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )       2:10-cv-02763 JAM-EFB
                                          )
12             Plaintiff,                 )       JOINT STATUS REPORT AND
                                          )       STIPULATION FOR STAY OF
13        v.                              )       FURTHER PROCEEDINGS AND
                                          )       ORDER
14   APPROXIMATELY $28,580.00 IN U.S.     )
     CURRENCY,                            )
15                                        )       DATE: N/A
     APPROXIMATELY $30,000.00 IN U.S.     )       TIME: N/A
16   CURRENCY SEIZED FROM BANK OF AMERICA )       COURTROOM: #2, 15th Fl.
     SAFE DEPOSIT BOX 1481C, and          )
17                                        )
     APPROXIMATELY $16,039.00 IN U.S.     )
18   CURRENCY,                            )
                                          )
19             Defendants.                )
                                          )
20
21        Pursuant to this Court's Order Requiring Joint Status Report
22   the plaintiff United States of America and claimants Sally Che,
23   Tac Che, Sinh Ngo, and Pao Thao (“Claimants”) submit the
24   following report.
25        A.   NATURE OF THE CASE:
26        Plaintiff contends that the defendant currency is the
27   proceeds of marijuana trafficking and that it is forfeitable to
28   the United States pursuant to 21 U.S.C. §        881(a)(6).      Claimants
                                       1    JOINT STATUS REPORT AND STIPULATION FOR
                                              STAY OF FURTHER PROCEEDINGS AND ORDER
                                                                         (PROPOSED)
          Case 2:10-cv-02763-JAM-AC Document 19 Filed 12/17/10 Page 2 of 7


1    deny these allegations.
2         B.    PROGRESS IN THE SERVICE OF PROCESS:
3         All known potential claimants to the defendant currency have
4    been served, and the time for filing claims or answers by
5    individuals receiving direct notice of this forfeiture action has
6    expired.
7         However, it is possible (albeit unlikely) that others may
8    file claims.   Publication of the forfeiture on the government’s
9    website is now complete, but under Rule G (5)(a)(ii)(B) of the
10   Supplemental Rules for Admiralty or Maritime Claims and Asset
11   Forfeiture Actions a person who did not receive direct notice of
12   the forfeiture (e.g. by certified mail or personal service), but
13   who sees the notice of forfeiture on the website, can file a
14   claim as late as 60 days after the first day of publication on
15   the government website.     The first day of publication in this
16   case was October 20, 2010; accordingly, other potential claimants
17   have until December 20, 2010, to file claims.
18        C.    POSSIBLE JOINDER OF ADDITIONAL PARTIES:
19        Plaintiff and claimants do not anticipate that there will be
20   any additional parties, but it is possible that a person who sees
21   the notice of forfeiture on the government website will file a
22   claim and answer and will become a party.
23        D.    ANY EXPECTED OR DESIRED AMENDMENT OF PLEADINGS:
24        The parties do not contemplate amending the pleadings.
25        E.    JURISDICTION AND VENUE:
26        Jurisdiction is based on 28 U.S.C. §§ 1345 and 1355(a).
27   Venue is based on 28 U.S.C. §§ 1355(b) and 1395, and 21 U.S.C. §
28   881(j).
                                       2    JOINT STATUS REPORT AND STIPULATION FOR
                                              STAY OF FURTHER PROCEEDINGS AND ORDER
                                                                         (PROPOSED)
          Case 2:10-cv-02763-JAM-AC Document 19 Filed 12/17/10 Page 3 of 7


1         F.    ANTICIPATED MOTIONS AND THE SCHEDULING THEREOF:
2         Plaintiff intends to file a motion for summary judgment
3    after the completion of discovery.
4         Claimants do not have discovery yet from plaintiff and have
5    not decided which motions if any, might be appropriate.
6         The parties are requesting a stay of further proceedings
7    (see below) and therefore suggest that motions not be scheduled
8    at this time.
9         G.    ANTICIPATED DISCOVERY AND THE SCHEDULING THEREOF
                INCLUDING:
10
          (1)   what changes, if any, should be made in the
11              timing, form, or requirement for disclosure
                under Rule 26(a), including a statement as to
12              when disclosures under Rule 26(a)(1) were
                made or will be made;
13
14        As of the December 1, 2006, amendments to Rule 26 of the
15   Federal Rules of Civil Procedure, civil forfeiture actions are
16   now exempt from the initial disclosure requirements applicable to
17   most other civil actions.     See Fed. R. Civ. P. 26(a)(1)(B)(ii).
18        In addition, the parties request that a stay of further
19   proceedings be entered at this time until all proceedings in the
20   related criminal case now pending in this Court against claimant
21   Tac Che (U.S. v. Tac Che et al., 2:10-cr-00168 JAM) have
22   concluded.   The stay is requested pursuant to 18 U.S.C. §§
23   981(g)(1) and 981(g)(2), and 21 U.S.C. §        881(i).     As explained
24   above, the plaintiff contends that the claimants were involved in
25   drug trafficking and that the seized funds are the proceeds of
26   that trafficking.
27        If discovery proceeds at this time, claimants will be placed
28   in the difficult position of either invoking their Fifth
                                       3    JOINT STATUS REPORT AND STIPULATION FOR
                                              STAY OF FURTHER PROCEEDINGS AND ORDER
                                                                         (PROPOSED)
          Case 2:10-cv-02763-JAM-AC Document 19 Filed 12/17/10 Page 4 of 7


1    Amendment rights against self-incrimination and losing the
2    ability to pursue their claims to the defendant property, or
3    waiving their Fifth Amendment right and submitting to a
4    deposition and potentially incriminating themselves.            If they
5    invoke their Fifth Amendment rights, the plaintiff will be
6    deprived of the ability to explore the factual basis for the
7    claims they filed with this court.
8         In addition, claimants intend to depose, among others, the
9    agents involved in this investigation.         Allowing depositions of
10   the law enforcement officers at this time would adversely affect
11   the ability of federal authorities to prosecute the pending
12   criminal case.
13         The parties recognize that proceeding with this action at
14   this time has potential adverse affects on the prosecution of the
15   pending criminal case, and/or upon claimants’ ability to prove
16   their claim to the property and assert any defenses to
17   forfeiture.    For these reasons, the parties jointly request that
18   this matter be stayed until all proceedings in the related
19   criminal case are over.      At that time the parties will advise
20   the court whether a further stay is necessary.
21        (2)   the subjects on which discovery may be needed;
                when discovery should be completed; and whether
22              discovery should be conducted in phases or be
                limited to or focused upon particular issues;
23
          As explained above the parties request a stay of further
24
     proceedings.
25
          (3)   what changes, if any, should be made in the
26              limitations on discovery imposed under the
                Civil Rules and what other limitations, if
27              any, should be imposed;
28
                                       4    JOINT STATUS REPORT AND STIPULATION FOR
                                              STAY OF FURTHER PROCEEDINGS AND ORDER
                                                                         (PROPOSED)
          Case 2:10-cv-02763-JAM-AC Document 19 Filed 12/17/10 Page 5 of 7


1         The parties do not request any changes in the discovery
2    limitations imposed by Fed. R. Civ. P. 26(b)(2), 30, or 33.
3         (4)     the timing of the disclosure of expert
                  witnesses and information required by Rule
4                 26(a)(2);
5         As explained above the parties request a stay of further
6    proceedings, including expert disclosure.
7         H.      FUTURE PROCEEDINGS, INCLUDING SETTING APPROPRIATE
                  CUT-OFF DATES FOR DISCOVERY, LAW AND MOTION, AND THE
8                 SCHEDULING OF PRETRIAL AND TRIAL:
9
10   EVENT                                     DATE
     Plaintiff to disclose experts             To be scheduled when
11
                                               stay lifted
12
     Claimants to disclose experts             To be scheduled when
13
                                               stay lifted
14
     Plaintiff to disclose rebuttal            To be scheduled when
15
     experts                                   stay lifted
16
     Discovery cutoff                          To be scheduled when
17
                                               stay lifted
18   Last day to file dispositive              To be scheduled when
19   motions                                   stay lifted
20   Hearing on motions                        To be scheduled when
21                                             stay lifted
22   Final pretrial conference                 To be scheduled when
23                                             stay lifted
24   Jury trial                                To be scheduled when

25                                             stay lifted

26        I.      APPROPRIATENESS OF SPECIAL PROCEDURES:
27        None.
28   //
                                       5    JOINT STATUS REPORT AND STIPULATION FOR
                                              STAY OF FURTHER PROCEEDINGS AND ORDER
                                                                         (PROPOSED)
          Case 2:10-cv-02763-JAM-AC Document 19 Filed 12/17/10 Page 6 of 7


1         J.      ESTIMATE OF TRIAL TIME:
2         The parties estimate three days for a jury trial.
3         K.      MODIFICATION OF STANDARD PRETRIAL PROCEDURES SPECIFIED
                  BY THE RULES DUE TO THE RELATIVE SIMPLICITY OR
4                 COMPLEXITY OF THE ACTION OF PROCEEDINGS:
5         None.
6         L.      WHETHER THE CASE IS RELATED TO ANY OTHER CASE,
                  INCLUDING ANY MATTERS IN BANKRUPTCY:
7
          This case is related to United States v. Tac Che et al.,
8
     2:10-cr-00168 JAM.     A Notice of Related Cases was filed on
9
     December 14, 2010.
10
          M.      WHETHER A SETTLEMENT CONFERENCE SHOULD BE SCHEDULED:
11
          The parties do not believe a settlement conference is
12
     appropriate in this case.
13
          N.      ANY OTHER MATTERS THAT MAY ADD TO THE JUST AND
14                EXPEDITIOUS DISPOSITION OF THIS MATTER:
15
          None.
16
17   Date: December 16, 2010           BENJAMIN B. WAGNER
                                       United States Attorney
18
19                               By    /s/ Kristin S. Door
                                       KRISTIN S. DOOR
20                                     Assistant U.S. Attorney
                                       Attorneys for Plaintiff
21                                     United States of America
22
23   Dated: December 16, 2010          /s/Kenny N. Giffard
                                       KENNY N. GIFFARD
24                                     (As authorized on 12/16/10
                                       Attorney for claimants
25                                     Sally Che, Tac Che, Sinh Ngo, and
                                       Pao Thao
26
                                   ORDER
27        For the reasons set forth above, this matter is stayed
28   pursuant to 18 U.S.C. §§ 981(g)(1) and 981(g)(2).
                                       6    JOINT STATUS REPORT AND STIPULATION FOR
                                              STAY OF FURTHER PROCEEDINGS AND ORDER
                                                                         (PROPOSED)
          Case 2:10-cv-02763-JAM-AC Document 19 Filed 12/17/10 Page 7 of 7


1       Within 30 days after all proceedings in U.S. District Court in
2    U.S. v. Tac Che, 2:10Cr00168 JAM, have concluded, the parties
3    will advise the court whether a further stay is necessary.
4
5    IT IS SO ORDERED.
6    Dated: 12/16/2010
                                            /s/ John A. Mendez
7                                           JOHN A. MENDEZ
                                            UNITED STATES DISTRICT JUDGE
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                                       7    JOINT STATUS REPORT AND STIPULATION FOR
                                              STAY OF FURTHER PROCEEDINGS AND ORDER
                                                                         (PROPOSED)
